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 8                          IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                     No. CR S-02-0213-MCE-CMK
                                                       CIV S-06-2409-MCE-CMK
12                  Respondent,

13          vs.                                    ORDER

14   GABRIEL ORTIZ-VILLALOBOS,

15                  Movant.

16                                        /

17          Movant, a federal prisoner proceeding pro se, brings this motion to correct or set aside a

18   criminal judgment pursuant to 28 U.S.C. § 2255. Pending before the court is movant’ request for

19   a certificate of appealability (Doc. 336 in the criminal docket), filed with his notice of appeal on

20   January 22, 2002.

21          Before movant can appeal this decision, a certificate of appealability must issue under 28

22   U.S.C. § 2253(c). See Fed. R. App. P. 22(b); see also 28 U.S.C. § 2255. A certificate of

23   appealability may issue under 28 U.S.C. § 2253 “only if the applicant has made a substantial

24   showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). The court must either

25   issue a certificate of appealability indicating which issues satisfy the required showing or must

26   state the reasons why such a certificate should not issue. Fed. R. App. P. 22(b).

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 1           The timely filing of a notice of appeal is a jurisdictional requirement. See Scott v.

 2   Younger, 739 F.2d 1464, 1466 (9th Cir. 1984). The time limit for filing a notice of appeal

 3   following denial of a motion under 28 U.S.C. § 2255 is thirty days. See Rule 11 of the Federal

 4   Rules Governing Section 2255 Proceedings; see also Fed. R. App. P. 4(a). Movant’s notice of

 5   appeal in this action was filed more than thirty days after entry of the order denying the motion.

 6   It is, therefore, untimely and cannot provide the appellate court with jurisdiction. The issuance of

 7   a certificate of appealability cannot vest the court of appeals with jurisdiction if jurisdiction is not

 8   proper in that court. Cf. Hayward v. Britt, 572 F.2d 1324, 1325 (9th Cir. 1978) (addressing

 9   issuance of a certificate of probable cause). Because movant’s notice of appeal is untimely, the

10   court declines to issue a certificate of appealability.

11           Accordingly, IT IS HEREBY ORDERED that movant’s request for a certificate of

12   appealability is denied.

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      Dated: February 1, 2008
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                                                     ________________________________
15                                                   MORRISON C. ENGLAND, JR.
                                                     UNITED STATES DISTRICT JUDGE
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